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                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION




LESTER DOBBEY, et al.,

                Plaintiffs,
v.                                                    Case No. 13-cv-1068

WILLIAM WEILDING, et al.,

               Defendants.                           Hon. Andrea R. Wood


               PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION




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                                       INTRODUCTION

       Stateville Correctional Center (“Stateville”) is uninhabitable. Recently, Class Members

have narrowly missed injury from falling concrete. Experts in structural engineering agree that

critical buildings are structurally unsound and in a state of disrepair that has required immediate

attention for years. Illinois Department of Corrections (“IDOC”) failed to make the necessary

repairs and now concrete is falling from the walls and ceilings, putting Class Members in

immediate risk of physical harm. IDOC has stated its plan to close and rebuild Stateville, but its

plan has stalled. Class Members cannot wait for any further delay. IDOC must immediately

transfer them out of Stateville.

       Based on the facts set forth below, Class Members can easily satisfy their legal burden of

demonstrating an Eighth Amendment violation to prove their likely success on the merits. There

are no countervailing interests that outweigh Class Members’ risk of harm. Indeed, Class

Members’ motion serves the public interest by protecting Class Members’ health and safety and

is consistent with IDOC’s recommendation to close and rebuild Stateville. This motion seeks to

but to ensure Class Members are transferred out of Stateville as soon possible before any

unnecessary and preventable injuries or death to Class Members.

       For the reasons set forth below, the Class respectfully requests that this Court grant its

motion for preliminary injunction.




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                                                 FACTS
    I.   Structural Safety and Integrity of the Buildings, Most Importantly, the Quarter
         House, Put Class Members in Immediate Risk of Physical Harm

         Stateville is nearly a century old. Approximately 420 Class Members reside there as of the

filing of this motion. 1 And at issue in this Motion: all over the prison, ceilings, walls, windows,

and support columns are cracked and crumbling—the result of age, neglect, and water

infiltration—putting Class Members at an intolerable level of risk of physical harm. Occasionally,

pieces of the building just fall down. Recently, concrete fell from the window lintel in one of the

cell blocks of the quarter house where most Class Members reside. Other buildings are already

condemned and shuttered. 2

             A. The Court’s Expert and IDOC’s Expert Agree that Immediate Repairs to the
                Quarter House are Necessary to Ensure Class Member Safety

         Stateville is in a terrible state of disrepair. At two least structural engineering experts found

that some of these deferred repairs were required “immediately”, yet none of these significant

structural repairs have been made to date. As a result, and as set forth below, Class Members face

imminent risk to their physical safety.

                 1. The Quarter Houses Have Significant Structural Vulnerabilities




1
         IDOC’s website reported a population at Stateville of 422 as of July 30, 2024. See Charles Truitt,
Stateville       Correctional         Center:        Facility        Data,       Ill.     Dep’t   of   Corr.,
https://idoc.illinois.gov/facilities/allfacilities/facility.stateville-correctional-center.html (last visited
July 30, 2024).
2
         Lester Dobbey, a pro se litigant and resident at Stateville at the time, aimed to rectify these
conditions. In 2013, Mr. Dobbey sought a preliminary injunction to repair the unconstitutional conditions
at Stateville. Dkt. 1 at 43. He filed his first complaint on February 8, 2013, id., and has filed two amended
complaints. Dkt. 27 (First Amendment Complaint); Dkt. 34 (Second Amended Complaint). On January 23,
2024, the Court certified the Class: “[A]ll individuals incarcerated at the Stateville Correctional Center at
any time since January 1, 2011, and all individuals who will be housed at the Stateville Correctional Center
in the future.” Dkt. 37 at 1-2.


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        First, in 2018, the Court granted Plaintiffs’ motion for an appointed structural engineering

expert. The Court appointed expert Bruce Kaskel to evaluate Stateville, pursuant to Federal Rule

of Evidence 706. Dkt. 173. After touring the facility with Honorable Robert M. Dow, Class

counsel, Defendants’ counsel, and Stateville personnel, Mr. Kaskel prepared expert reports

evaluating the facilities and identifying many areas that required emergency repairs. 3 Of particular

concern were the vulnerabilities noted to structure and masonry of the quarter house, where most

Class Members resided at that time. 4

        Mr. Kaskel observed that there were “numerous vertical cracks” in the brick masonry piers,

which may “reduce the strength of the load-bearing piers.” Exhibit 1 (Report of Bruce Kaskel

dated October 30, 2019 (“Kaskel Report”)) at 16. Inside the quarter house, Mr. Kaskel found “large

cracks” in the load-bearing interior walls that needed further evaluation because these types of

“[c]racks may reduced the support of decks that bear on these walls.” Id. at 17. The Court’s expert

identified several areas needing repairs, including the large windows in the front wall between the

masonry piers, the floors and ceilings of the two ground floor showers, and the roof truss. Id. at

18. He observed uneven floors and stairs that presented safety hazards, and noted that the service

wall chase required additional inspection to identify why water was observable, through holes in

the floor, running below the concrete floors.


3
         Specifically, Mr. Kaskel evaluated the structural safety, including the roof, masonry, and interiors,
of the quarter houses (a single, connected building structure made up of B-, C-, D-, and E-House), X-House,
the kitchen, health services unit, the theater, the gymnasium, the personal property building, and the
commissary. See generally Exhibit 1 (Kaskel Report). He identified, among others, the following areas as
needing emergency repairs: the masonry, the gymnasium roof, and the showers in the quarter house Id.
4
          Earlier in this litigation, F-House and its horrific conditions were part of this case until it was finally
closed by Governor Bruce Rahner in November 2016. See, e.g., Dkt. 34 at ¶51; Exhibit 3 (Bruce Rauner,
Gov. Rauner: In Name of Justice, I’m Closing Stateville’s F House, CHI. SUN TIMES (Oct. 14, 2016)),
https://chicago.suntimes.com/2016/10/14/18404476/gov-rauner-in-name-of-justice-i-m-closing-stateville-
s-f-house. F-House, referred to as the “round house,” was the last panopticon by any state’s penal system,
until it was closed. Exhibit 3.


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       Following Mr. Kaskel’s evaluation, the Defendants also retained an expert, Helen Torres

& Associates (“HTA”). HTA evaluated the masonry of the quarter houses in the fall and winter of

2021 and finalized the Defendants’ expert’s report in January 2022. Exhibit 2 (Report of Helen

Torres & Associates dated January 20, 2022 (“HTA Report”)) at 2. The Defendants’ expert agreed

with Mr. Kaskel, and further identified additional concerns for the quarter houses.

       IDOC’s expert identified that there were “numerous elements” including the masonry

walls, arches and the roof, that have failed as “a water barrier.” Exhibit 2 (HTA Report) at 1. HTA

reported that “masonry cracks present in and near the north and south arches [of the quarter house]

require immediate attention.” Id. (emphasis added).

       In addition, HTA reported that “wall cracking and top of wall cracking is present

throughout the [quarter house] and requests repairs.” Exhibit 2 (HTA Report) at 1. HTA further

identified that “[a] few concrete lintels over large windows show signs of deterioration” and

required assessment. Id. at 1. Water must be kept out of the masonry’s exterior walls “to maintain

the system’s integrity.” Id. at 7. HTA similarly found “[c]ondensate water” accumulating near the

foundation wall, which has led it to crack and requires immediate repair. Id. at 7 tbl.1; Exhibit 2

(HTA) at 17 (noting that the existing cracks “currently provide a path for moisture migration

behind the brick” and that there may be “other paths for moisture infiltration”).

       IDOC’s expert highlighted in red items that HTA defined as requiring “immediate

attention” because the “structural or non-structural deficiency . . . could adversely impact

performance of [the] element if not addressed” and “[c]ould pose a falling debris hazard.” Exhibit

2 (HTA Report) at 5. Six repairs received the red-level of “immediate action,” which are excerpted

from the HTA Report below:




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Exhibit 2 (HTA Report) at 5-12 (designated “red” level repairs taken from Tables 1-4 in the HTA

Report). To date, the only repairs Class Members have been made aware are those recommended

by Mr. Kaskel and HTA to the quarter house showers.




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          IDOC’s failure, over the past two years, to take any action to address these expert-identified

structural issues requiring “immediate attention” has put Class Members at risk of their physical

safety.

                 2. Due to IDOC’s Lack of Action, Concrete Fell from the Window Lintel Near
                    the Ceiling of E-House in August 2023

          These failures have already had consequences. Indeed, the failure to address the window

lintels that HTA identified in January 2022 resulted in a foreseeable and preventable harm of

concrete falling. In August 2023, a chunk of concrete dislodged from the window lintel in E-House

and fell from nearly the ceiling to the floor. Exhibit 4 (Declaration by Anthony Ehlers) at ¶¶14-16.

The concrete fell just feet from a correctional officer. Id. at ¶15. The following day, another piece

of concrete fell in E-House about five feet away from then Class Member, James Soto. Exhibit 5

(Declaration by James Soto) at ¶¶4-5.

                 3. All the Window Lintels in the Four Cell Blocks of the Quarter House
                    Create a Risk of More Falling Concrete

          In October 2023, Defendants’ expert EXP U.S. Services, Inc. (“EXP”) performed an

“emergency” evaluation of the concrete lintels in the B, C, D, and E-Houses. Exhibit 6 (EXP

Report) at 1. EXP found that there has been ongoing “lintel spalling and cracking . . . for an

extended period of time” in all four quarter houses, with E-House showing the “most advanced

levels of damage.” Id. at 2. Specifically, likely due to “significant volumes of water” infiltrating

the exterior wall system, many of the lintels in E-House were “severely cracked with whole pieces

of concrete having already detached,” and their steel reinforcements “exposed . . . and severely

corroded.” Id. Moreover, EXP’s assessment indicates that the masonry is also cracking above in

the brick above the lintel, which “may provide a secondary pathway for water to infiltrate the

system and reach the . . . lintels.” Id.



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       Accordingly, EXP identified a risk of falling concrete debris in the quarter houses requiring

immediate action. Exhibit 6 (EXP Report) at 2. EXP suggested a stop-gap measure of installing

netting, but it does not entirely eliminate the risk of falling debris. Id. Moreover, further repairs

are required to stop water from continuing to enter the exterior masonry. Id. at 4. Defendants opted

for a temporary, wooden stop-gap measure, which was installed last spring. Exhibit 7 (Muhammad

Declaration) at ¶11; Exhibit 4 (Ehlers Declaration) at ¶¶18-19.

               4. The Quarter House Continues to Deteriorate and Suffer Water Infiltration

       One of the key factors that both Mr. Kaskel and HTA identified as posing a risk to structural

integrity of the quarter house was the fact that that the water barriers were compromised, and so

water infiltrates the walls, structure, and foundation. Exhibit 1 (Kaskel Report) at 15; Exhibit 2

(HTA Report) at 11. Because those repairs have not been made, Class Members continue to report

that water seeps into the building structure when it rains and is observable on the walls and floors.

See, e.g., Exhibit 5 (Declaration of James Soto) at ¶¶7-9 (explaining that “[w]hen I resided in E-

House last year, I was able to observe water coming through ceiling and walls of E-House that

face the yard whenever it rained,” observe it condense on the ceiling, and “when it rained, the

electricity in my cell on seventh gallery in E-House would go out”); Exhibit 8 (Declaration of

Joseph Dole) at ¶¶7-8 (noting that for hours “water r[a]n inside after the rain outside stopped,”

leaving “concrete walls and floors . . . wet”); Exhibit 4 (Ehlers Declaration) at ¶¶22-24 (recounting

his observations of “water run down the interior walls,” “water pooling inside,” and electrical

outages during rainstorms); Exhibit 7 (Muhammad Declaration) at ¶14 (“When it rains, I am also

able to observe water on the inside walls.”).




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               5. Gymnasium is out of Service

       Water has infiltrated and collected in the gymnasium roof. Exhibit 1 (Kaskel Report) at 7.

Mr. Kaskel observed water stains indicating leaks, as well as splits in the roof, and he

recommended replacing the roof if moisture is found within it. Id. He assessed that the gymnasium

roof is beyond the ability to repair. The building has not been in use by Class Members for years.

Exhibit 8 (Dole Declaration) at ¶10.

               6. The Kitchen and Dietary Building Needs Immediate Repairs

       The kitchen and dietary building, where Class Members cook and eat some of their meals,

is “in dire need of repair and replacement,” according to IDOC’s Acting Director Latoya Hughes

(“IDOC Director”). Exhibit 9 (IDOC Recommendation to COGFA, dated April 26, 2024 (“IDOC

Recommendation”)) at 5. According to IDOC and a survey that was conducted, “extensive roofing

repairs and masonry work is needed” to the rotunda building that comprises of the kitchen and

dietary building. Id. at 5 (stating an estimated $3 million is needed for replacement of the roof). In

addition, the kitchen building requires “floor replacements, equipment replacement, new

ventilation, and freezers and coolers.” Id. And, perhaps most importantly for a kitchen used for

daily meal preparation, the “fire suppression system is beyond its useful life and needs

replacement.” Exhibit 9 (IDOC Recommendation to COGFA) at 5 (stating estimated cost for

kitchen repairs was $15 million). Beyond that, Class Members report that there are no working

sinks for workers to wash their hands, and there are rodents in the kitchen. Exhibit 7 (Muhammad

Declaration) at ¶¶45, 47.

           B. The CGL Report Confirms Stateville Must Close

       In May 2023, IDOC contracted a third party, CGL, to conduct an assessment of Stateville,

along with other IDOC facilities. Exhibit 10 (CGL Report) at 1. Overall, CGL found that

Stateville’s facilities were in such disrepair that they approached CGL’s “Inoperable” rating, and
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the prison had the lowest “Building Conditions Index (BCI)” among all evaluated IDOC facilities.

Id. at 4, 38-40. Specifically, 11 of Stateville’s buildings showed “complete degradation,

inoperability, and need for replacement.” Id. at 40. In addition to the “extremely poor” structural

conditions of Stateville, CGL found it “nearly impossible” for the facility to maintain a constant

ambient temperature. Exhibit 10 (CGL Report) at 44. And Stateville did not meet CGL’s

operational assessment—again scoring lowest among all IDOC facilities. Id. at 43. As such, the

CGL report admonished IDOC to “[r]eplace Stateville [h]ousing” because it is “not suitable for

any 21st century correctional center.” Id. at 6, 120; see also id. at 44.

            C. IDOC Does not Dispute The Significance of the Structural Issues at Stateville

        IDOC does not dispute these structural problems, nor can it. On March 15, 2024, Governor

Pritzker and IDOC announced plans to close and rebuild Stateville. Exhibit 11 (Governor Pritzker

Press Release Announcing Closing of Stateville dated March 15, 2024). On April 26, 2024, IDOC

submitted its recommendation to the Commission on Governmental Forecasting and

Accountability (“COGFA”) that acknowledged the structural risks that Class Members face due

to the repairs needed to the quarter house and kitchen buildings. Exhibit 9 (IDOC Recommendation

to COGFA). At a townhall on June 11, 2024, IDOC explained its plan was to transfer Class

Members to other IDOC facilities in September 2024. Exhibit 12 (6/11/24 Townhall Tr.) at 89:6-

21. In addition, as of June 15, 2024, the State completed the legislative requirements for closing a

prison in Illinois.

        While Class Members agree with Governor Pritzker’s decision and IDOC’s plan to close

Stateville, Class Members cannot wait the additional months before moving. Nor can they wait for

another piece of concrete to fall. The life-threatening conditions that Class Members are exposed

to require an immediate transfer.



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 II.   Other Conditions Pose Serious Health and Safety Risks to Class Members

       The decaying structure of Stateville also prevents it from withstanding extreme

temperatures—which have become more extreme and have been occurring more frequently in

recent years—due to its structural integrity issues. The quarter house already has compromised

ventilation due to the structure’s age, but it also has limited access to windows that open; poor

circulation of the air; and/or fans that were not working, not turned on, or locked. Exhibit 7

(Mohammad Declaration) at ¶11 (“Some of the windows in E-House are now nailed shut and/or

blocked from opening due to the materials that were put up to prevent more concrete from falling

from the windows. The barriers to protect us from the structural risk are causing restriction of

airflow in E-House. . .”); Exhibit 4 (Ehlers Declaration) at ¶9 (barriers put up prevent some

windows on the front wall of E-House from being opened); id. at ¶11 (“Even before [the new

barriers] few windows were able to open or open fully in E-House.”). During the hot days, Class

Members are exposed to excessively hot temperatures, particularly on the higher galleries. Exhibit

13 (Declaration of Taurean Dectur) at ¶5 (exposure to extreme heat in E-House due to lack of

ventilation and “windows above the catwalk are closed and nailed shut.”); Exhibit 14 (Curry

Declaration) at ¶¶15-19 (many windows remain “nailed shut”); Exhibit 15 (Declaration of Robert

Cloutier) at ¶¶9-12 (“It is oppressively hot in Stateville. . . .”); Exhibit 5 (Soto Declaration) at

¶¶10-15.

       Although Stateville has long dealt with “[o]ngoing pest control issues,” Class Members

must compete with birds and vermin because of the unsound walls. Exhibit 16 (IDOC December

2022 Safety & Sanitation Report) at 3, 5; Exhibit 17 (IDOC November 2022 Safety & Sanitation

Report) at 3, 5; Exhibit 18 (IDOC October 2022 Safety & Sanitation Report) at 3-4; Exhibit 19

(IDOC September 2022 Safety & Sanitation Report) at 3-4, 6-8; Exhibit 20 (June 2019 Sanitation

Report) at 5-7; Exhibit 3 (Ehlers Declaration) at ¶44 (“There are birds flying all around, dropping
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excrement throughout the cellhouse.”). Class Member Joseph Dole recalled that after Class

Members were permitted to reinhabit E-House after the barriers were erected on the window lintels

after concrete fell in August 2023, he observed that in the weeks of absence, the floors, beds, and

sinks in E-House were “covered in bird feathers and excrement.” Exhibit 8 (Dole Declaration) at

¶22.

         Class Members also fear drinking the water in the faucets due to particles in it, discoloration

and odor; and, so they do not. Exhibit 4 (Ehlers Declaration) at ¶¶39-40 (“The water here is

undrinkable; it is discolored and has particles in it. I also believe it has other harmful substances

and I fear drinking it. I do not observe staff drinking the water from the faucet either. I observe

staff bringing in water from the outside and/or drinking from bottles of water.”); Exhibit 7

(Muhammad Declaration) at ¶44 (due to the color and odor of the water and “the particles in it and

contaminants,” he does not feel safe drinking the water and does not observe staff doing so);

Exhibit 15 (Declaration of Robert Cloutier) at ¶13 (same). 5

III.     The Conditions Present and Immediate Risk to Class Members

         Consistent with the evaluations of Stateville, Class Members face risks of grave injury. In

the past, a portion of the shower ceiling in Edwards House collapsed on a Class Member. Exhibit

4 (Ehlers Declaration) at ¶21. Moreover, Class Members have reported that the ceiling in the

commissary is falling down. Exhibit 8 (Declaration of Robert Dole) at ¶9; Exhibit 7 (Muhammad

Declaration) at ¶6. IDOC has also recognized these looming threats to Class Members’ health and




5
  Other Class Members submitted letters of support reporting on some of these conditions. See, e.g.,
Exhibit 13 (Decatur Declaration) (describing leaking walls, electrical problems when the cell
house floods, birds, bugs and lack of ventilation); Exhibit 21 (Statement of Bryan Dean) (structural
damage, vermin and ventilation). See also Exhibit 23 (Statement of Justice Cavazos); Exhibit 22
(Statement of Lynn Green).

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safety, noting that the prison is currently too dangerous for people to live in. Exhibit 12 (6/11/24

Townhall Tr.) at 5:17-6:13, 14:8-12.

       Indeed, tragically last month, Class Member Michael Broadway, died in his cell in E

House, which was located on the highest gallery and occurred on a hot and humid day, where Class

Members reported excessive heat and poor ventilation. Exhibit 4 (Ehler Declaration) at ¶¶30-37

(describing the excessive heat on the gallery of Mr. Broadway’s cell the day he died and his tragic

death); Exhibit 8 (Dole Declaration) at ¶¶11-14 (attesting to the heat experienced on the high

galleries during heat waves); Exhibit 15 (Cloutier Declaration) at ¶¶22-31 (describing his

witnessing his Michael’s tragic death).

       Although some repairs have been made at Stateville, the facility continues to be extremely

dangerous. The structural damage and disrepair to Stateville’s many compromised buildings pose

an ongoing risk to Class Members, as well as those employed there. IDOC has recognized these

looming threats to Class Members’ health and safety, noting that the prison is currently too

dangerous for people to live in. Exhibit 12 (6/11/24 Townhall Tr.) at 5:17-6:13, 14:8-12.

IV.    Defendants’ Inadequate Response and the Need to Move Class Members Now

       As discussed above, the parties agree that Stateville is unsafe. IDOC has failed to ensure

the safety of Class Members with respect to the deterioration of Stateville. Since January 2022,

IDOC has failed to address five of the red-level, “immediate action” required that HTA identified

in structural repairs to ensure the structural safety of the quarter house. Exhibit 2 (HTA Report) at

5-12 (Tables 1-4).

       In all, IDOC has allowed $250 million in necessary repairs to amass. Exhibit 5 (IDOC

Recommendation to COGFA) at 2. For instance, last May, CGL reported that Stateville needed 12

million dollars of immediate repairs. Exhibit 10 (CGL Report) at 120. IDOC has also identified



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another 18 million dollars needed to make necessary repairs to the kitchen roof and building,

including to its fire suppression system.” Exhibit 9 (IDOC Recommendation to COGFA) at 5.

        Class Members live in fear of illness, injury, and death. They are surrounded by safety

hazards and have witnessed Stateville’s dangers firsthand. Class Members fear that the discolored

water is harmful to their health. Exhibit 8 (Dole Declaration) at ¶13. Some have observed concrete

falling within five feet of where they were walking. Exhibit 5 (Soto Declaration) at ¶14. Others

must frequently walk past falling debris and large cracks in the walls, and report, “I fear that

concrete will fall on me.” Exhibit 7 (Mohammad) Declaration at ¶¶20-22. Those who witnessed

Michael Broadway’s tragic death have said, “I fear that my fate will be the same as Michael’s if I

continue to live in these conditions.” Exhibit 15 (Cloutier Declaration) at ¶31. Their fears are real

and inescapable. 6

        But Class Members are not the only ones who know how dangerous Stateville is. IDOC’s

Director said herself that closing Stateville during the rebuild is critical for the safety and well-

being of Class Members and employees. Exhibit 12 (6/11/24 Townhall Tr.) at 13:25-14:7

        It would not be a burden to transfer Class Members immediately. IDOC’s Director said

that concerns about closing Stateville during the rebuild are “unfounded”. Id. Stateville’s current

population is a fraction of what its capacity is. IDOC’s website reports that the population as of

the date of this filing is 422 individuals and the total capacity for the facility is 3,020. See Charles



6
         Class Members report that the State has stopped investing in quality care for the living and common
areas, and that since Governor Pritzker announced the impending closure of Stateville, staff has stopped
coming to work or has refused to do their jobs while at the prison, leaving Class Members to suffer in abject
conditions. Exhibit 7 (Muhammad Declaration) at ¶¶48-51 (since Governor Prizker’s announcement, he
has observed an increase in the number of days where staff shortages are provided as basis Class Members
have reduced access to time outside their cells, such as for yard); Exhibit 8 (Dole Declaration) at ¶¶24-26
(yard and school cancelled in recent months due to under staffing); Exhibit 15 (Cloutier Declaration) at ¶8
(since the closure announcement the only repairs observed at the facility have been to the building where
correctional officers eat).


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Truitt,      Stateville    Correctional     Center:        Facility   Data,    Ill.   Dep’t     of   Corr.,

https://idoc.illinois.gov/facilities/allfacilities/facility.stateville-correctional-center.html        (last

visited July 30, 2024). IDOC already has plans to relocate many Class Members: Approximately

one-fifth of the Class Members currently in Stateville have been slated for transfers (to access

certain educational programming). 7 Id. at 12:18-25. 8 Because IDOC has known about and planned

for the transfer of Class Members out of Stateville, there are spaces already available at other

facilities. Most notably, the current population at Sheridan Correctional Center is 1,210 while its

reported operational capacity is 2,107, which indicates that there is space available at that facility.

See Ryan Woods, Sheridan Correctional Center: Facility Data, Ill. Dep’t of Corr.,

https://idoc.illinois.gov/facilities/allfacilities/facility.sheridan-correctional-center.html          (last

visited July 30, 2024).

    V.    Class Members Need Immediate Relief

          The Defendants’ failures to adequately respond to the significant health risks in Stateville

have had, and will continue to have, devastating effects on the Class Members of Stateville

Correctional Center. Absent the immediate closure of Stateville, those residing and working in the

facility faces severe, ongoing risks of grievous bodily injury or death.




7
  Of the current population of approximately 420 Class Members, 80 Class Members are part of
Northwestern University’s Prison Education Program (“NPEP”) and were previously approved for
transfer to Sheridan Correctional Center to continue their educational programing in September
2024. Those 80 Class Members should be permitted to transfer as part of the prior agreement with
IDOC regardless of the outcome of this motion. Director Hughes identified this agreement at the
June 11, 2024 Townhall meeting. Exhibit 12 (6/11/24 Townhall Transcript) at 12:18-25 (“Of the
431 individuals in custody impacted at Stateville, approximately 80 of those individuals in custody
were already previously identified for transfer from Stateville, specifically to continue their
educational pursuits in the Northwestern Prison Education Program, which was slated to mov to
Sheridan Correctional Center, even prior to this process.”).
8
    See also Exhibit 10 (CGL Report) at 27 (noting that Stateville has an “exceedingly high” vacancy rate).

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                                       LEGAL STANDARD

       On a motion for a preliminary injunction, the plaintiffs must establish that they are “likely

to succeed on the merits” and that they are “likely to suffer irreparable harm in the absence of

preliminary relief, that the balance of equities tips in [their] favor, and that an injunction is in the

public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); Michigan v. U.S.

Army Corps. of Eng’rs, 667 F.3d 765, 769 (7th Cir. 2011); Ty, Inc. v. Jones Grp., Inc., 237 F.3d

891, 895 (7th Cir. 2001) (preliminary injunction).

       This is not a high burden. A party seeking a preliminary injunction “need only establish a

‘trivial chance of succeeding on the merits.’” Frullari Franchise Sys., Inc. v. Dana Areece & Co.,

2001 WL 743427, at *2 (N.D. Ill. June 28, 2001) (quoting Green River Bottling Co. v. Green River

Corp, 997 F.2d 359, 361 (7th Cir. 1993)); Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of

Educ., 858 F.3d 1034, 1046 (7th Cir. 2017) (explaining that a party seeking a preliminary

injunction must “only show that his chances to succeed on his claims are better than negligible”

(internal quotation marks omitted)).

       If the movant meets their burden to show a that they have some likelihood of succeeding

on the merits of their claim, the court must consider the irreparable harm to nonmoving party

would suffer if the preliminary injunction is granted, and balance that harm against the irreparable

harm that the movant would face if the injunction was not granted. Ty, Inc., 237 F.3d at 895. Such

a balancing process involves a “sliding scale” approach, wherein the more likely a movant is to

win on the merits, the less the balance of harms must weigh in their favor, and vice versa. Mays v.

Dart, 974 F.3d 810, 818 (7th Cir. 2020); see also Aon Risk Servs. Cos. v. Alliant Ins. Servs., Inc.,

415 F. Supp. 3d 843, 847 (N.D. Ill. 2019); Hoosier Energy Rural Elect. Co-op, Inc. v. John

Hancock Life Ins. Co., 583 F.3d 721, 725 (7th Cir. 2009). The court must also consider the public



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interest when determining whether to grant the preliminary injunction. Foster v. Ghosh, 4 F. Supp.

3d 974, 984 (N.D. Ill. 2013).

       Courts have broad power to fashion equitable remedies to address constitutional violations

in prisons. Hutto v. Finney, 437 U.S. 678, 687 n.9 (1978). And although courts must “be sensitive

to the State’s interest[s]” in imprisonment, they “must not shrink from their obligation to enforce

the constitutional rights of all persons, including prisoners [and] . . . may not allow constitutional

violations to continue simply because a remedy would involve intrusion into the realm of prison

administration.” Brown v. Plata, 563 U.S. 493, 511 (2011) (quoting Cruz v. Beto, 405 U.S. 319,

321 (1972) (per curiam) (internal quotation marks omitted)). As federal courts have recognized,

there are obvious scenarios where the transfer of prisoners is necessary to protect their

constitutional rights, such as cases where a prison is “so dilapidated that no one could predict when

the walls would crumble down, thus putting inmates’ lives at serious risk.” Plata v. Brown, 427 F.

Supp. 3d 1211, 1223 (N.D. Cal. 2013).

       For prospective relief of prison conditions, the Court’s relief “shall extend no further than

necessary to correct the violation of the Federal right”. 18 U.S.C. § 3626(a)(1)(A). The relief must

be “narrowly drawn, extend[] no further than necessary to correct the violation of the Federal right,

and is the least intrusive means necessary to correct the violation of the Federal right.” Id. In

addition, “[t]he court shall give substantial weight to any adverse impact on public safety or the

operation of a criminal justice system caused by the relief.” Id.

                                           ARGUMENT

       The Court should grant the Class Members’ motion. Their request meets each requirement

for a preliminary injunction as set forth below.




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  I.   Class Members Can Demonstrate a Reasonable Likelihood of Success on the Merits

       Class Members are reasonably likely to succeed on the merits of their claims by

demonstrating that their current conditions of confinement violate the Eighth Amendment.

           A. Deliberate Indifference Requires Showing of Awareness of a Risk and an
              Unreasonable Response to that Risk

       To establish an Eighth Amendment violation, Class Members must show two things. First,

they must “demonstrate that the deprivation suffered was, objectively, ‘sufficiently serious,’”

meaning that “the prison official’s act or omission . . . result[ed] in the denial of the minimal

civilized measure of life’s necessities.” Williams v. Shah, 927 F.3d 476, 479–80 (7th Cir. 2019)

(quoting Farmer v. Brennan, 511 U.S. 825, 834 (1994)). Second, the Class “must demonstrate that

the prison official had a sufficiently culpable state of mind,” namely “deliberate indifference to

inmate health or safety.” Williams, 927 F.3d at 480 (citing Farmer, 511 U.S. at 834). This includes

a deliberate indifference to conditions posing “an unreasonable risk of serious damage” to Class

Members’ present health, as well as conditions threatening their “future health.” Helling v.

McKinney, 509 U.S. 25, 35 (1993) (considering exposure to secondhand smoke). Class Members

have met this standard.

       Class Members are entitled to the “minimal civilized measure of life’s necessities,” such

as adequate shelter, sanitation, and physical safety. Dixon v. Godinez, 114 F.3d 640, 642 (7th Cir.

1997); see also Teen v. St. Clair Cnty. Jail, 2017 WL 3670164, at *7 (S.D. Ill. Aug. 25, 2017).

Here, IDOC failed to provide Class Members with minimal necessities, “including adequate

shelter.” Dixon, 114 F.3d at 642. Both the Court’s and the Defendants’ expert acknowledge that

Stateville is falling apart. Exhibit 1 (Kaskel Report); Exhibit 2 (HTA Report); Exhibit 10 (CGL

Report) at 120; see also Exhibit 7 (Mohammad Declaration) at ¶¶6, 9 (noting that the ceiling in

the commissary is falling down). Indeed, Class Members have viscerally felt the facility’s decay,

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witnessing falling concrete, and water permeating the structure when it rains. See, e.g., Exhibit 4

(Ehler Declaration) at ¶21 (observed concrete fall on Class Member in E-House shower); Exhibit

7 (Mohammad Declaration) at ¶11; Exhibit 4 (Soto Declaration) at ¶4 (observed concrete fall near

him shortly the day after concrete fell from the E-House window lintel). IDOC’s Director

recognized that ignoring these issues only exacerbates risks to both Class Members and staff.

Exhibit 9 (IDOC Recommendation to COGFA) at 8-9. Since Defendants have failed to address

these life-threatening risks, Class Members must ask the Court to intervene.

       Courts have repeatedly found that risk to the physical safety of prisoners violates the Eighth

Amendment. See, e.g., Helling, 509 U.S. at 33 (“The [Eighth] Amendment, as we have said,

requires that inmates be furnished with the basic human needs, one of which is ‘reasonable

safety.’” (quoting DeShaney v. Winnebago Cnty. Dep’t of Soc. Servs., 489 U.S. 189, 200 (1989));

Rhodes v. Chapman, 452 U.S. 337, 352 (1981) (“Courts certainly have a responsibility to scrutinize

claims of cruel and unusual confinement, and conditions in a number of prisons, especially older

ones, have justly been described as deplorable and sordid.” (internal quote marks and citation

omitted)); Cody v. Hillard, 799 F.2d 447, 449-50 (8th Cir. 1986), on reh’g, 830 F.2d 912 (8th Cir.

1987) (affirming, following Rhodes, where the “cells lacked adequate ventilation, and other cells

lacked running hot water.”); Isaac v. Cockrell, 2018 WL 4679762, at *3 (E.D. Mich. Sept. 28,

2018) (“The Eighth Amendment . . . prohibits punishments that deprive detainees of the minimal

measure of necessities . . . . [which] include[s] reasonably adequate ventilation.” (citations

omitted)); Gregory v. Davis, 2015 WL 128061, at *1 (S.D. Ill. Mar. 18, 2015) (concluding that

alleged “exposure to asbestos-covered pipes and mold,” leaking “toilet[s] and pipes,” “inadequate”

ventilation, and “an infestation of bugs” constitute eighth amendment violations); Moore v. Smith,

2021 WL 11716912, at *5 (M.D. Ga. Mar. 3, 2021) (finding that exposure to black mold can



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constitute an Eighth Amendment violation); James v. Milwaukee Cnty., 956 F.2d 696, 699 (7th

Cir. 1992) (explaining that a “deprivation[]” of “physical safety” violates the Eighth Amendment);

Smith v. Sangamon Cnty. Sheriff’s Dep’t, 715 F.3d 188, 191 (7th Cir. 2013) (similar); Smith v.

Clark, 1992 WL 222603, at *3 (N.D. Ill. June 21, 1993) (“Deprivations of basic human needs,

such as a prisoner’s physical safety, are actionable [under the Eighth Amendment].”); Sardon v.

Peters, 1995 WL 609147, at *7 (N.D. Ill. Oct. 13, 1995) (“[A] deprivation of a basic human need

such as . . . physical safety . . . is required to find an Eighth Amendment violation.”).

       As the Supreme Court explained in DeShaney:

       The rationale for this principle is simple enough: when the State by the affirmative
       exercise of its power so restrains an individual’s liberty that it renders him unable
       to care for himself, and at the same time fails to provide for his basic human
       needs—e.g., food, clothing, shelter, medical care, and reasonable safety—it
       transgresses the substantive limits on state action set by the Eighth Amendment and
       the Due Process Clause.

489 U.S. at 200.

       The Seventh Circuit has further recognized that incarcerated people are entitled to

“reasonably adequate ventilation, sanitation, bedding, hygienic materials, and utilities.” Thomas v.

Blackard, 2 F.4th 716, 720 (7th Cir. 2021) (quoting Gray v. Hardy, 826 F.3d 1000, 1005 (7th Cir.

2016)); see also Roman v. Hileman, 2018 WL 3045622, at *5 (S.D. Ill. June 20, 2018) (“[A]

prisoner’s right to adequate and healthy ventilation has been recognized as necessary to meet

constitutional requirements.”); Sherman v. Lane, 1998 WL 11649, at *6 (N.D. Ill. Mar. 9, 1998)

(“Prisoners must be provided with adequate heat and ventilation.”) Thomas v. GEO Grp., Inc.,

2022 WL 834333, at *10 (N.D. Ind. Mar. 21, 2022) (“[I]nmates are entitled to adequate food,

clothing, shelter, bedding, hygiene materials, and sanitation.” (citing Knight v. Wiseman, 509 F.3d

458, 463 (7th Cir. 2009)); Famous v. Pollard, 2008 WL 152926, at *3 (E.D. Wis. Jan. 11, 2008)

(explaining that conditions producing “the deprivation of a single, identifiable human need such


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as food, warmth, or exercise” constitutes actionable harm under the Eighth Amendment) (quoting

Wilson v. Seiter, 501 U.S. 294, 298 (1991)). Courts within the Seventh Circuit have regularly

granted motions for preliminary injunctions when incarcerated individuals allege unsafe

conditions. E.g., Winters v. Hendrix, 2023 WL 7553861, at *2, *6 (N.D. Ill. Nov. 13, 2023)

(granting the plaintiff’s motion for injunctive relief pursuant to his Eighth Amendment claim

against the warden for unsanitary drinking water); Henderson v. Butler, 2015 WL 6746581, at *5

(S.D. Ill. Nov. 5, 2015) (concluding that the plaintiff’s Eighth Amendment claim survives a motion

to dismiss when the plaintiff “allege[d] that he notified [the correctional officers] about soaring

temperatures, denial of a fan,” and hygienic issues, and the officers failed to take any steps to

address these conditions).

           B. Class Members Are Reasonably Likely to Succeed on their Eighth
              Amendment Claim

       Class Members are reasonably likely to succeed on their claim, thus satisfying the first

requirement of a preliminary injunction. While any one of the conditions at issue in this lawsuit,

on its own, violates the Eighth Amendment, Class Members face significant and substantial risk

to their health and safety due to the structural deterioration of the facilities, including most

critically of the buildings where Class Members reside and spend nearly all their time—the quarter

houses and the kitchen and dietary building where meals are prepared and served. See generally

Exhibit 1 (Kaskel Report) & Exhibit 2 (HTA Report). The Governor and IDOC has announced a

plan to decision to close and rebuild Stateville and stated that there is an “urgent need to act now

[which] drives the administration’s decision to close and rebuild Stateville rather than to repair it,”

Exhibit 12 (6/11/24 Town Hall Tr.) at 5:17-6:4. However, IDOC has failed to implement the




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transfer of Class Members and in the meantime have failed to make the necessary measures to

ensure their physical safety.

       Class Members can demonstrate that they can satisfy the legal threshold to support the

Court ordering the transfer of Class Members to commence as soon as possible and to have all

Class Members transferred or released by September 20, 2024.

       The evidence in support is overwhelming. First, the Court’s appointed expert, Bruce

Kaskel, of inspected the quarter house in September 2019 and issued a report documenting the

significant concerns related to cracks in the exterior masonry and interior masonry that needed

further inspection due to possible compromise to the structural integrity of the building. Exhibit 1

(Kaskel Report). In response, IDOC hired its own expert to inspect the masonry of the quarter

house in response. Exhibit 2 (HTA Report). IDOC’s own expert identified that there due to

“numerous elements” including the masonry walls, arches and roof, have failed as “a water

barrier.” Exhibit 2 (HTA Report) at 1. Back in 2022, IDOC’s own expert recommended that

“masonry cracks present in and near the north and south arches [of the quarter house] require

immediate attention.” Exhibit 2 (HTA Report) at 1 (emphasis added). Class Members have

received no indication that those repairs were ever conducted to date.

       In addition, back in 2022, IDOC’s expert also indicate that “wall cracking and top of wall

cracking is present throughout the [quarter house] and requests repairs.” Exhibit 2 (HTA Report)

at 1. HTA further identified that “[a] few concrete lintels over large windows show signs of

deterioration” and required assessment. Id. Indeed, nothing was done and as a result, in August

2023, a section of concrete fell from nearly the ceiling in E-House from the window lintel. Exhibit

6 (EXP Report) at 1. Class Members present in the facility at that time witnessed the falling

concrete, which fell within feet of a correctional officer. Exhibit 4 (Ehlers Declaration) at ¶¶14-



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16. An engineering firm examined the window lintels and concluded that “all four cell blocks have

some level of lintel spalling and cracking which has been ongoing.” Exhibit 9 (IDOC Letter to

COGFA) at 5. Although barriers have been placed over the walls in the quarter house to prevent

additional concrete from falling, nothing has been done to conduct the extensive repairs needed to

fix the window lintels in the quarter house.

        Further, IDOC’s expert identified that “[s]ignificant oxide jacking is present in most of the

steel due to water migration” in the service wall chase behind all the cells in the quarter house.

Exhibit 2 (HTA Report) at 2. As a result, there are additional cracks in the walls, concrete slab

delamination, and rebar rusting. Back in 2021, IDOC’s expert stated that the service wall chase

“required immediate attention.” Exhibit 2 (HTA Report) at 2. Class Members are not aware of

any repairs made to the service wall chase since IDOC’s expert made this recommendation in

2021.

        Then, in June 2023, IDOC’s third-party vendor issued its report for all IDOC facilities,

which concluded that Stateville is “not suitable for any 21st century correctional center.” Exhibit

10 (CGL Report) at 120. CGL further concluded that Stateville requires “an estimated $12 million

in immediate structural repairs.” Id. (emphasis added). Again, as of this filing, none of the

estimated immediate repairs identified by CGL have been made.

        Second, Class Members routinely contend with sweltering heat, debris-filled air, and scarce

ventilation. E.g., Exhibit 15 (Cloutier Declaration) at ¶¶9-12; Exhibit 7 (Declaration of

Mohammad) at ¶¶24-29; Exhibit 4 (Ehlers Declaration) ¶¶25-27; Exhibit 8 (Dole Declaration) at

¶¶11-16; Exhibit 14 (Curry Declaration) at ¶¶15-21. Stateville’s decrepit structure is unsuitable for

the extreme heat of Illinois summers. The facility’s walls fail to insulate Class Members from the

heat, and windows are either sealed shut or rendered inoperable because of other structural damage.



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See, e.g., Exhibit 4 (Ehlers Declaration) at ¶¶9, 11-12 (explaining that windows are locked or

“blocked to prevent concrete from falling”); Exhibit 14 (Curry Declaration) at ¶18.

       Finally, the collapsing structure of Stateville invites pests, such as vermin and birds, as well

as mold, to live amongst Class Members. Rats and roaches reside in the kitchen, while birds fly

throughout the quarter houses, leaving feathers and excrement allover Class Members’ cells. See,

e.g., Exhibit 8 (Dole Declaration) at ¶¶21-23; Exhibit 7 (Mohammad Declaration) at ¶47.

Moreover, the prison’s cracked walls and decaying ceiling provides an optimal breeding ground

for mold. Class Member Mr. Cloutier, for example, reported that one of the commissary rooms is

unusable because “it is too decayed” and covered with black mold. Exhibit 15 (Declaration of

Cloutier) at ¶7.

       As such, the Class Members surpass the showing required for preliminary injunctive

relief—namely, that their chance of success on the merits is greater than “trivial” or “negligible.”

Frullati Franchise Sys., 2001 WL 743427, at *2; Whitaker, 858 F.3d at 104.

       The ongoing health and safety threats by the physical buildings combined with poor

ventilation, and unsanitary water create an “intolerable” and unlivable environment that constitutes

cruel and unusual punishment. See Dixon, 114 F.3d at 642; see also Helling, 509 U.S. at 33 (“It is

‘cruel and unusual punishment to hold convicted criminals in unsafe conditions.’”) (quoting

Youngberg v. Romero, 457 U.S. 307, 315–16 (1982)). Class Members are entitled to life’s

minimum necessities. The conditions in Stateville are not merely “harsh and uncomfortable.”

Dixon, 114 F.3d at 642. They are deadly. Plaintiffs are therefore likely to succeed on their claims

under the Eighth Amendment.




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 II.    The Class Members Have No Adequate Remedy at Law for the Severe Risk of Injury
        or Death They Continue to Face

        Injunctive relief is warranted now, even in light of IDOC’s public statements that it intends

to start moving Class Members in September, for three reasons. First, IDOC has not provided a

date specific in September, nor has IDOC guaranteed that the transfers will actually start in

September. Second, IDOC has never represented that all Class Members will be out of the facility

during the month of September. Accordingly, IDOC may take additional weeks and/or months to

complete the evacuation of all Class Members from the facility posing additional, and unnecessary,

amount of time that exposes Class Members unnecessarily to risk to their physical safety and

health. Accordingly, starting transfers out of the facility during the next few weeks, even if on only

a rolling basis, will greatly reduce risk to Class Members.

        Injunctive relief is proper “when the plaintiff has no adequate remedy at law, such as

monetary damages.” Boucher v. Sch. Bd. of Sch. Dist. of Greenfield, 134 F.3d 821, 823 (7th Cir.

1998). Conditions that “pose an immediate threat to the health and safety” of Class Members “have

no adequate remedy at law.” Young v. Ballis, 762 F. Supp. 823, 837 (S.D. Ind. 1990); see also

Flynn, 830 F. Supp. 2d at 992 (finding that plaintiffs have no adequate remedy at law and “that

only injunctive relief will alleviate the risks at which they are placed by the defendants’ acts and

omissions”).

        Everyone inside of Stateville faces substantial risks of serious injury or death for which

there is no adequate remedy at law. The structures are on the brink of collapse—and have indeed

begun to collapse on Class Members (and put staff at risk). The longer that Stateville is allowed to

remain open, the larger these life-threatening risks loom. Accordingly, “because the risk of harm

to plaintiffs is a grave threat to their health and possibly their lives, they have shown a risk of harm




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for which ‘it is not practicable to calculate damages’ and therefore has no adequate remedy at law.”

Mays v. Dart, 435 F. Supp. 3d 1074, 1098 (N.D. Ill. Apr. 9, 2020).

III.   The Class Members Face Irreparable Harm, Including Death, Absent Temporary
       and Preliminary Relief

       Irreparable harms are those which “cannot be undone following the adjudication and a final

determination of the merits of [the plaintiff’s] underlying claim.” Foster, 4 F. Supp. 3d at 983.

They include “an injury that is not easily measurable in monetary terms,” such as physical pain or

injury to reputation. EnVerve, Inc. v. Unger Meat Co., 779 F. Supp. 2d 840, 845 (N.D. Ill. 2001);

Wheeler v. Wexford Health Sources, Inc., 689 F.3d 680, 682 (7th Cir. 2012).

       The risks Class Members face are sufficient to establish a likelihood of irreparable harm to

support injunctive relief. E.g., Girl Scouts of Manitou Council, Inc. v. Girl Scouts of U.S., Inc., 549

F.3d 1079, 1090 (7th Cir. 2008) (finding irreparable harm that the plaintiff cannot be “prevented

or fully rectified by the final judgment after trial”); Orr v. Shicker, 953 F.3d 490, 502 (7th Cir.

2020) (irreparable harm is that which “cannot be repaired and for which money compensation is

inadequate” (internal quotation marks omitted)); Preston v. Thompson, 589 F.2d 300, 303 n.3 (7th

Cir. 1978) (“The existence of a continuing constitutional violation constitutes proof of an

irreparable harm.”). Courts in this circuit have explained that “pain, suffering, and risk of death

constitute irreparable harm sufficient to support a preliminary injunction in prison cases.” Jones

‘El v. Berge, 164 F. Supp. 2d 1096, 1123 (W.D. Wis. 2001); see also Flynn, 630 F. Supp. 2d at

992-93 (explaining that absent injunctive relief, plaintiffs “will suffer irreparable harm in the form

of continued medication errors and delays” which create “life-threatening risks . . . and

unnecessary pain and suffering”).




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IV.     The Harm Threatening Class Members Outweighs Any Harm to Defendants

        When balancing equities, the Court “weighs the irreparable harm that the moving party

would endure without the protection of the preliminary injunction against any irreparable harm the

nonmoving party would suffer if the court were to grant the requested relief.” Valencia v. City of

Springfield, 883 F.3d 959, 966 (7th Cir. 2018). In doing so, courts in this circuit employ a “sliding

scale” approach, wherein the more likely the movant is to succeed on the merits, the less they need

the balance of harms to weigh in their favor to receive injunctive relief. Roland Mach. Co. v.

Dresser Indus., Inc., 749 F.2d 380, 387 (7th Cir. 1984).

        Here, the Class Members are both likely to succeed on the merits of their Eighth

Amendment claims and have the equities balancing in their favor. They continue to live in

substandard conditions and risk grievous injury or death every day. The harms to Defendants, in

contrast, are purely administrative and negligible. Although Defendants may expend additional

time or funding to immediately move Stateville Class Members, such expenditures hardly

constitute actual harms. 9 The current delay from implementing the transition out of Stateville is

unnecessarily putting Class Members at risk for no compelling reason. That is especially true given

that the COGFA process has been completed and no statutory impediment exists to commence

transfers of Class Members immediately.

        Yet even if there were actual “harms” to Defendant, which they are not, they would pale

in comparison to the severe risks to life and limb that Class Members face on a daily basis. Indeed,

the Supreme Court has long recognized that “vindication of concede conditional rights cannot be

made dependent upon any theory that it is less expensive to deny them than to afford them.”



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        To the extent that there are any additional expenditures, IDOC has also pledged to minimize the
disruption of relocating Class Members to other facilities. Exhibit 12 (6/11/24 Town Hall) at 15:11-25.


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Watson v. City of Memphis, 373 U.S. 526, 537 (1963). And courts in this circuit have readily

acknowledged that “matters of administrative concern,” such as “budgetary concerns,” must

“ultimately give way when constitutional rights are in jeopardy.” Flynn, 630 F. Supp. 2d at 993;

Tay v. Dennison, 457 F. Supp. 3d 657, 688 (S.D. Ill. 2020) (finding that the balance of harms “tips

in Plaintiff’s favor,” as granting injunctive relief only “direct[s] Defendants to do their job”). Other

federal courts have likewise held even the State’s attempt to mitigate dangerous prison conditions,

such as severe heat, are “insufficient to combat the substantial risk of serious injury or death faced

by inmates.” Cole, 2017 WL 3049540, at *10; see also Valentine v. Collier, 455 F. Supp. 3d 308,

328 (S.D. Tex. 2020) (finding that the balance of equities tilt in plaintiffs’ favor because they “face

serious irreparable harm—including severe illness, long-term health effects, and possibly death—

if forced to remain in the current condition” of the prison, while defendants’ “countervailing

contention is that they will suffer an institutional injury”).

         While an injunction would impose some costs on Defendants, 10 they are only the costs of

legal compliance. Accordingly, the balance of harms favors Class Members.

 V.      A Preliminary Injunction in Favor of Class Members Would Serve the Public Interest

         It is always in the public interest to prevent a continuing violation of a plaintiff’s

constitutional rights. See, e.g., Joelner v. Vill. of Washington Park, 378 F.3d 613, 620 (7th Cir.

2004) (“Surely upholding constitutional rights serves the public interest.”) (quoting Newsome v.

Albemarle Sch. Bd., 354 F.3d 249, 261 (4th Cir. 2003)); Preston, 589 F.2d at 303. And the State

has a “substantial interest in the efficient and safe operation of [its] prison system.” Flynn, 630 F.

Supp. 2d 987, 993 (E.D. Wis. 2009).


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       Indeed, at a recent COGFA town hall, IDOC’s Director said that it is not fiscally responsible to
expend funds now while building a new facility. Exhibit 12 (6/11/24 Town Hall) at 8:15-25. It is better for
Class Members and IDOC staff, she said, to immediately close the prison, as this is the only way to ensure
everyone’s safety. Id.
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       Plaintiffs’ requested relief is in the public interest because transferring Class Members to

other IDOC facilities would ensure that Defendants act in accordance with the law to maintain

their prison system. Cf. Basank, P.G. ex rel. K.G. v. Hamos, 2013 WL 393233, at *6 (C.D. Ill. Jan.

31, 2013) (granting a temporary restraining order for severely mentally ill children to require the

State to provide adequate in-home or alternative care as required by the Medicaid Act). Moreover,

the immediate closure of Stateville would benefit the state employees who work in the prison by

protecting them from many of the same dangers Class Members face. Cf. Vantile v. Collier, 455

F. Supp. 3d 308, 329–30 (S.D. Tex. 2020) (finding that an injunction will serve the interests of the

Department of Corrections staff because they, like Class Members, were at risk of contracting

COVID-19 from the current prison conditions).

       Furthermore, the relief Class Members seek is narrowly tailored in that it orders the relief

of transfer by a certain date, but IDOC has discretion about where Class Members will be

transferred and can conduct is regular assessments to decide on transfer locations.

VI.    This Court Should Not Require Class Members to Provide Security Prior to Issuing
       a Temporary Restraining Order

       Under Rule 65(c) of the Federal Rules of Civil Procedure, district courts have discretion to

determine the amount of the bond accompanying a preliminary injunction. This discretion includes

the authority to set a nominal bond. In this case, the Court should waive bond because Plaintiffs

are indigent, the requested preliminary injunction is in the public interest, and the injunction is

necessary to vindicate constitutional rights. See Pocklington v. O’Leary, 1986 WL 5748, at *2

(N.D. Ill. May 6, 1986) (“[B]ecause of [a prisoner’s] indigent status, no bond under Rule 65(c) is

required.”).




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                                        CONCLUSION

       For the above reasons, Class Members respectfully request that the Court grant their motion

for a preliminary injunction and enter an order directing the Illinois Department of Corrections to

produce a plan that details the transfer of all Class Members from Stateville to another facility

and/or their release by August 12, 2024, and further directs IDOC to transfer and/or release all

Class Members from Stateville by no later than September 20, 2024.

Dated: July 31, 2024

                                                     Respectfully submitted,

                                                     DOBBEY CLASS MEMBERS

                                                     /s/ Heather Lewis Donnell
                                                     One of Plaintiffs’ Attorneys



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